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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                FORT SMITH DIVISION

ANA MELGAR; PHAYTHOUNE
PHENGSOUVANAVONG; and RUBEN
IRABURO                                                                              PLAINTIFFS

v.                                     No. 2:13-CV-02169

OK FOODS; and OK INDUSTRIES, INC.                                                 DEFENDANTS

                                            ORDER

       For the reasons set forth in the opinion (Doc. 235-1) of the Eighth Circuit Court of Appeals,

and pursuant to the settlement agreement entered into by the parties, Plaintiffs are awarded

$87,500.00 in attorney’s fees.

       IT IS SO ORDERED this 19th day of September, 2018.


                                                             /s/P. K. Holmes, ΙΙΙ
                                                             P.K. HOLMES, III
                                                             CHIEF U.S. DISTRICT JUDGE
